    Case: 3:16-cr-00073-TMR Doc #: 99 Filed: 05/25/17 Page: 1 of 3 PAGEID #: 472




                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA                       : CASE NO. 3:16CR073

                      Plaintiff,               : JUDGE THOMAS M. ROSE

               vs.                             :

DEONTAY LAVERN SATTERWHITE (1) : [PROPOSED] PROTECTIVE ORDER
GUY WHITE (2)
WILLIAM CLARENCE ETCHISON (4) :

                                          :
                       Defendants.
                     ___________________________________________________

       Pursuant to Federal Rule of Criminal Procedure 16(d)(1), the Court hereby grants the

Motion of the United States for entry of a Protective Order, prescribing the manner in which

Defendants’ DEONTAY LAVERN SATTERWHITE, GUY WHITE and WILLIAM

CLARENCE ETCHISON, and their counsel should handle certain materials – namely,

undercover recorded telephone calls and/or undercover body wire recordings dated September 4,

2014, November 12, 2015, November 18, 2015, November 23, 2015, December 3, 2015,

December 23, 2015, January 15, 2016, February 19, 2016 and February 23, 2016 (collectively,

“the Discovery Materials”)1 – as follows:

       1.      Defendants’ counsel and Mr. Satterwhite, Mr. White and Mr. Etchison will not

disclose the said information directly or indirectly to any third person except: attorneys and

investigators who are assisting in Mr. Spencer and Mr. Etchison’s defense; United States

citizens who the defense interviews as potential witnesses; and potential experts (“Authorized

Individuals”). Upon disclosing said information contained in the Discovery Materials to an

Authorized Individual, Defendants’ counsel and Mr. Satterwhite, Mr. White and Mr. Etchison

1
 When producing these Discovery Materials to Mr. Satterwhite, Mr. White and Mr. Etchison and their
counsel, the United States will clearly mark them as subject to the Protective Order.
   Case: 3:16-cr-00073-TMR Doc #: 99 Filed: 05/25/17 Page: 2 of 3 PAGEID #: 473




must provide that Authorized Individual with a copy of the Court’s Protective Order and advise

that Authorized Individual that he or she will be subject to the same obligations as imposed upon

Defendants’ counsel, Mr. Satterwhite, Mr. White and Mr. Etchison by the Protective Order.

       2.      Defendants’ counsel shall not copy or reproduce the Discovery Materials unless

copied or reproduced for the express use by Authorized Individual(s) who may be assisting in the

defense, and in that event, the copies or reproductions should be treated in the same manner as the

original Discovery Materials.    Defendants’ counsel shall maintain a log of any and all copies or

reproductions made of the Discovery Materials and to whom they were distributed.

       3.      Although Defendants’ counsel may permit Mr. Satterwhite, Mr. White and Mr.

Etchison to review the Discovery Materials at their respective law office (or in a pre-trial

detention facility under defense counsel’s personal observation and supervision), Mr.

Satterwhite, Mr. White and Mr. Etchison may not remove from said office: the Discovery

Materials; or copies or reproductions of the Discovery Materials, regardless of format, including,

but not limited, personal notes reflecting content of the Discovery Materials.

       4.      Defendants’ counsel, Mr. Satterwhite, Mr. White and Mr. Etchison are only

authorized to use the Discovery Materials solely in the defense of this case and for no other

purpose.

       5.      At the conclusion of this case, Defendants’ counsel shall return all the Discovery

Materials and copies or reproductions thereof forthwith to the United States Attorney’s Office.

       6.      Defendants’ counsel shall inform Mr. Satterwhite, Mr. White and Mr. Etchison

of these prescriptions placed on the Discovery Materials, and ensure that he does not to disclose or

use any information contained in the Discovery Materials in violation of the Protective Order.

However, nothing contained in the Protective Order will preclude any party from applying to the




                                                 2
   Case: 3:16-cr-00073-TMR Doc #: 99 Filed: 05/25/17 Page: 3 of 3 PAGEID #: 474




Court for further relief or for modification of any provision hereof.




_5/25/17____                                  _*s/Thomas M. Rose________________________
DATE                                          JUDGE THOMAS M. ROSE
                                              UNITED STATES DISTRICT COURT JUDGE




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